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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

ANDREW HAHN and HEATHER HAHN,                    )
                                                 )      Case No. 16-cv-6908
                              Plaintiffs,        )
                                                 )      Judge Robert M. Dow
                v.                               )
                                                 )
                                                        Magistrate Judge Sheila Finnegan
ANSELMO LINDBERG OLIVER, LLC                     )
and WELLS FARGO BANK, N.A.,                      )
                                                 )
                              Defendants.        )


               ANSELMO LINDBERG OLIVER, LLC'S MOTION TO DISMISS

        Defendant, ANSELMO LINDBERG OLIVER, LLC ("ALO"), by its attorneys, David M.

Schultz, Justin M. Penn, and Jonathon D. Drews, and pursuant to Federal Rule of Civil Procedure

12 (b)(6) and respectfully moves to dismiss Count I of Plaintiffs Complaint against ALO with

prejudice.

        ALO incorporates its contemporaneously filed Memorandum of Law in Support of its

Motion to Dismiss.

        WHEREFORE, defendant, ANSELMO LINDBERG OLIVER, LLC, respectfully requests

this Court dismiss Counts I against ALO with prejudice and for any other relief this Court deems

appropriate.

                                               Respectfully submitted,

                                               ANSELMO LINDBERG OLIVER, LLC

                                            By: lsl]onathon D. Drews
                                               Jonathon D. Drews

                                              David M. Schultz
                                              Justin M. Penn
                                              Jonathon D. Drews
                                              HINSHAW & CULBERTSON
                                              222 N. LaSalle Street, Ste 300
                                              Chicago, IL 60601


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                                 (312) 704-3000
                                 jpenn@hinshawlaw.com
                                 jdrews@hinshawlaw.com




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                                CERTIFICATE OF SERVICE

       I, an attorney, hereby certify that on September 6, 2016, I electronically filed Defendant
Anselmo Lindberg Oliver, LLC's Motion to Dismiss with the Clerk of the Court using the CM/ECF
system which will send notification of such filing to all counsel of record.

                                           Is! Jonathon D. Drews
                                              ~




                                           Jonathon D. Drews




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